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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                   Defendants.


          This matter is before the Court further to the Court’s COVID-19 Health Precautions

   Order. Dkt. 1146; see Dkt. 1202 (Order restricting attendance in Courthouse and Courtroom).

   The measures set forth therein which the Court has taken and is taking to reduce the risk of

   spread of COVID-19, support utilizing the same health precautions at the Court’s final pre-trial

   conference on October 22, 2021 at 10:00 a.m., as apply at the trial itself. As the Court stated on

   the record at the status conference on October 20, 2021, the Court ORDERS and CLARIFIES

   that all health measures set forth in this Court’s Orders at Dkts. 1146 and 1202, are applicable to

   the Court’s final pre-trial conference on October 22, 2021.

          That means, at the final pre-trial conference, all in-person participants must be aware of

   and compliant with this Court’s rules regarding wearing of masks, maintaining social distancing,

   conducting health self-assessments, providing notice in the event of certain COVID-19 events,

   and submitting vaccination or negative COVID-19 test attestation forms, all before coming to the

   Courthouse. See Dkt. 1146 at 2–4. Plaintiffs, Plaintiffs’ attorneys and staff, are limited to no

   more than nine (9) participants on their side, as applies at trial. See id. at 4. Attestation forms
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   regarding vaccination or negative COVID-19 tests may be emailed directly and without copying

   any other case participant to this Court’s Chambers e-mail (moon.ecf@vawd.uscourts.gov).

          Any party or counsel of record who is unable to attend the final pre-trial conference in

   person for any reason shall have remote video and audio access via ZoomGov.com, and should

   contact the Clerk’s Office, Heidi Wheeler, to secure such login information.

          Any interested member of the public or press may listen remotely via audio access to the

   final pre-trial conference. Specifically, as to those media organizations which the Clerk’s Office

   has approved their application for press credentials at trial, they shall be able to view the pre-trial

   conference remotely from another room in the Courthouse. See Dkt. 1202 (Order restricting the

   attendance of courtroom and Courthouse during trial).

          The Clerk of Court is directed to send a copy of this Order to all counsel of record, to

   Christopher Cantwell, and to the U.S. Marshals Service.




                                                   DATED: October 21, 2021
